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   1 HUESTON HENNIGAN LLP
     John C. Hueston, State Bar No. 164921
   2 jhueston@hueston.com
     Moez M. Kaba, State Bar No. 257456
   3 mkaba@hueston.com
     Sourabh Mishra, State Bar No. 305185
   4 smishra@hueston.com
     Michael H. Todisco, State Bar No. 315814
   5 mtodisco@hueston.com
     523 West 6th Street, Suite 400
   6 Los Angeles, CA 90014
     Telephone: (213) 788-4340
   7 Facsimile: (888) 775-0898
   8 Attorneys for Defendant Elon Musk
   9
                                UNITED STATES DISTRICT COURT
  10
                              CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       VERNON UNSWORTH,                             Case No. 2:18-cv-08048
  13
                       Plaintiff,                   Judge: Hon. Stephen V. Wilson
  14
                 vs.                                DECLARATION OF MOEZ M.
  15                                                KABA IN SUPPORT OF
                                                    DEFENDANT ELON MUSK’S
  16 ELON MUSK,                                     MOTION TO DISMISS PLAINTIFF
                                                    VERNON UNSWORTH’S
  17                   Defendant.                   COMPLAINT
  18                                                Hearing Date: April 1, 2019
                                                    Time: 1:30 p.m.
  19                                                Place: Courtroom 10A
  20                                                Complaint Filed:    Sept. 17, 2018
                                                    Trial Date:         None set
  21
  22
  23
  24
  25
  26
  27
  28

                         KABA DECL. ISO DEFENDANT ELON MUSK’S MOTION TO DISMISS
       5450851
Case 2:18-cv-08048-SVW-JC Document 30-1 Filed 12/26/18 Page 2 of 10 Page ID #:183



   1
                               DECLARATION OF MOEZ M. KABA
   2
                 I, Moez M. Kaba, declare as follows:
   3
                 1.    I am an attorney at the law firm of Hueston Hennigan LLP, counsel of
   4
       record in this action for Defendant Elon Musk. I am a member in good standing of
   5
       the Bar of the State of California and admitted to practice before this Court. I have
   6
       personal knowledge of the facts set forth in this declaration and, if called to testify, I
   7
       could and would testify competently thereto.
   8
                 2.    Attached hereto as Exhibit 1 is a true and correct copy of excerpts of an
   9
       e-mail exchange between Richard Stanton, a British diver who assisted in the cave
  10
       rescue, and Elon Musk, retrieved on December 26, 2018 from the following link:
  11
       https://twitter.com/elonmusk/status/1016684366083190785?lang=en
  12
                 3.    Attached hereto as Exhibit 2 is a true and correct copy of a letter from
  13
       the Prime Minister of the Kingdom of Thailand to Elon Musk, dated July 26, 2018.
  14
                 4.    Attached hereto as Exhibit 3 is a true and correct copy of a letter from
  15
       Sunai Praphuchanay, Lieutenant General in the Royal Thai Army, to Elon Musk,
  16
       dated July 20, 2018.
  17
                 5.    Attached hereto as Exhibit 4 is a true and correct copy of a “Royal Thai
  18
       Army Special Warfare Command Certificate” awarded by the Royal Thai Army, to
  19
       Elon Musk.
  20
  21
       Dated: December 26, 2018                  HUESTON HENNIGAN LLP
  22
  23
                                                 By: ____/s/ Moez M. Kaba
  24
                                                      Moez M. Kaba
  25                                                  Attorney for Defendant Elon Musk
  26
  27
  28
                                                   -1-
                         KABA DECL. ISO DEFENDANT ELON MUSK’S MOTION TO DISMISS
       5450851
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          EXHIBIT 1 TO
             KABA
         DECLARATION
12/26/2018
        Case     Elon Musk on Twitter: "The former Thai
               2:18-cv-08048-SVW-JC                     provincial governor
                                                    Document         30-1 (described inaccurately asPage
                                                                            Filed 12/26/18          “rescue chief”)
                                                                                                            4 of 10 is not the
                                                                                                                           Pagesubject
                                                                                                                                    IDmatter
                                                                                                                                       #:185 expert. T…


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                            Elon Musk                                                                     Follow             
                            @elonmusk

                Replying to @BBCWorld

                The former Thai provincial governor
                (described inaccurately as “rescue chief”) is
                not the subject matter expert. That would be
                Dick Stanton, who co-led the dive rescue
                team. This is our direct correspondence:

   Elon Musk                                          © 2018 Twitter
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   @elonmusk
                                                     Terms Privacy policy

      Joined June 2009
                                                       Cookies Ads info




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                4,560 Retweets 32,264 Likes


https://twitter.com/elonmusk/status/1016684366083190785?lang=en                                                                                     1/1
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          EXHIBIT 2 TO
             KABA
         DECLARATION
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          EXHIBIT 3 TO
             KABA
         DECLARATION
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          EXHIBIT 4 TO
             KABA
         DECLARATION
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